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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN

 Therisa D. Escue, Billy R. Escue, Jr.,
 Kim Schelble, Brian P. Weatherill,
 Kenneth C. Morandi, Jill Jeffries, and
 Daniel Singh on behalf of themselves     Case No. 2:24-cv-10853-BRM-DRG
 and all others similarly situated,
                                          Hon. Brandy R. McMillion,
                 Plaintiffs,              United States District Judge

       v.                                 Hon. David R. Grand,
                                          United States Magistrate Judge
 United Wholesale Mortgage, LLC,
 UWM Holdings Corporation, SFS
 Holding Corp., and Mathew Randall
 Ishbia,

                 Defendants.



               PLAINTIFFS’ RESPONSE TO DEFENDANTS’
            SECOND MOTION FOR RELIEF UNDER RULE 11,
        28 U.S.C. § 1927, AND THIS COURT’S INHERENT POWERS
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                   STATEMENT OF ISSUES PRESENTED

 1.   Do Defendants establish that Plaintiffs brought this action for an improper
      purpose?

            Plaintiffs’ answer: No

            Defendants’ answer: Yes

            This Court should answer: No

 2.   Do Defendants establish that any of Plaintiffs’ factual allegations are
      completely unwarranted by the evidence?

            Plaintiffs’ answer: No

            Defendants’ answer: Yes

            This Court should answer: No

 3.   Do Defendants establish that any of Plaintiffs’ factual allegations are facially
      unreliable?

            Plaintiffs’ answer: No

            Defendants’ answer: Yes

            This Court should answer: No

 4.   Should the Court impose sanctions on Plaintiffs under Fed. R. Civ. P. 11?

            Plaintiffs’ answer: No

            Defendants’ answer: Yes

            This Court should answer: No




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 5.   Should the Court impose sanctions on Plaintiffs under 28 U.S.C. § 1927?

            Plaintiffs’ answer: No

            Defendants’ answer: Yes

            This Court should answer: No

 6.   Should the Court use its inherent power to impose sanctions on Plaintiffs?

            Plaintiffs’ answer: No

            Defendants’ answer: Yes

            This Court should answer: No




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          CONTROLLING OR MOST APPROPRIATE AUTHORITY

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      E.E.O.C. v. Pines of Clarkston, Inc.,
         2014 WL 6612375 (E.D. Mich. Nov. 20, 2014)

 Rules & Statutes:
      FED. R. CIV. P. 11

      28 U.S.C. § 1927




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                                  INTRODUCTION
       For the second time, Defendants have filed a motion for sanctions accusing

 Plaintiffs’ counsel of serious misconduct without anything approaching a reasonable

 justification. The Civility Principles promulgated by this Court instruct attorneys to

 (i) “not, absent good cause, attribute bad motives or improper conduct to other

 counsel” and (ii) “not seek court sanctions without first conducting a reasonable

 investigation and unless fully justified by the circumstances . . . .” Admin. Ord. No.

 08-AO-009. Mindful of these principles and the laudable goals they are meant to

 achieve, Plaintiffs will not respond in kind by speculating why Defendants would

 choose to file a second baseless sanctions motion, or by turning the tables and filing

 a separate sanctions motion of their own. But Plaintiffs respectfully submit these

 motions are a needless waste of time and resources, and if Defendants file additional

 such motions in the future, Plaintiffs reserve the right to seek appropriate relief.

       There is no merit whatsoever in any of Defendants’ stated grounds for relief.

 This action was not filed for an improper purpose. It was filed solely to seek redress

 for the harm Defendants’ fraudulent scheme has caused to Plaintiffs and thousands

 of similarly situated consumers. Notably, despite claiming this entire action is a

 sham, Defendants do not dispute the propriety of the vast majority of the allegations

 in Plaintiffs’ 583-paragraph First Amended Complaint (ECF No. 21, the “FAC”),

 including that Defendants, together with their broker partners, intentionally deceived


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 consumers into believing their brokers were “independent,” when they in fact were

 deliberately steering loans to UWM.            And the few specific allegations that

 Defendants claim are “baseless” plainly are not. Defendants’ effort to prematurely

 litigate the merits, including through their now-redundant challenges to the statistical

 analysis cited in the FAC, is an abuse of Rule 11. The Court should put an end to

 this unnecessary diversion and deny this motion in its entirety.

                                 LEGAL STANDARD
       To prevail on a motion for alleged violations of Rule 11, a defendant “must

 meet” an even “higher burden of proof” than the burden applicable on a motion for

 summary judgment. E.E.O.C. v. Pines of Clarkston, Inc., 2014 WL 6612375, at *2

 (E.D. Mich. Nov. 20, 2014). It is “not enough” to show that there is no genuine issue

 of material fact and plaintiffs’ claims fail as a matter of law. Id. Rather, a “defendant

 must . . . prov[e] that plaintiffs’ claims are ‘not warranted by existing law . . .’ and

 that the factual contentions lack any evidentiary support.” Id. (citing Fed. R. Civ. P.

 11(b)) (emphasis added). Put differently, the “[d]efendant must show that the filing

 and continuation of [the] lawsuit was so lacking in merit that its pursuit could be said

 to be objectively unreasonable.” Id.

       As the Sixth Circuit has made clear, a district court should be especially

 “hesitant” to find violations of Rule 11 at the pleading stage when “ordinarily there

 is little or no evidence before the court at all.” Tahfs v. Proctor, 316 F.3d 584, 594


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 (6th Cir. 2003); see also Hookom v. Sensor, 121 F.R.D. 63, 64 (S.D. Ohio 1988)

 (“No litigant should be faced with sanctions without an opportunity to conduct

 appropriate discovery.”).1 Moreover, Rule 11 motions that aim “to test the legal

 sufficiency or efficacy of allegations in the pleadings” are inappropriate and should

 be denied. James v. Caterpillar, Inc., 824 F. App’x 374, 378 (6th Cir. 2020) (quoting

 Fed. R. Civ. P. 11, 1993 Advisory Committee Notes).

       “Rule 11 is not a toy.” Draper & Kramer, Inc. v. Baskin-Robbins, Inc., 690

 F. Supp. 728, 732 (N.D. Ill. 1988). “[A] Rule 11 violation is a serious thing, and an

 accusation of such wrongdoing is equally serious.” Id. “Threatening sanctions

 casually or as a matter of course has no place among officers of the court” and should

 be reserved for “the most egregious cases and, then, only as a last resort.” Harrison

 Prosthetic Cradle Inc. v. Roe Dental Lab., Inc., 608 F. Supp. 3d 541, 551 (N.D. Ohio

 2022). Parties that file frivolous Rule 11 motions may be sanctioned themselves.

 See Gregory P. Joseph, Sanctions: The Federal Law of Litigation Abuse § 14(D)(6)

 (6th ed. 2023). And under Rule 11(c)(2), “the court may award to the prevailing

 party the reasonable expenses, including attorney’s fees, incurred for the motion.”




 1
  Courts likewise must exercise their authority to assess fees under 28 U.S.C. § 1927
 “with restraint and discretion,” Chambers v. NASCO, Inc., 501 U.S. 32, 45 (1991),
 and routinely “decline[] to award sanctions under § 1927 based on the filing of
 allegedly frivolous claims” in an initial or amended complaint. See El-Khalil v.
 Tedeschi, 2023 WL 5827666, at *8, *10 (E.D. Mich. Sept. 8, 2023).
                                           3
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                                      ARGUMENT

 I.      Defendants’ Repeated Accusation That Counsel Brings This Action for
         an “Improper Purpose” Remains Baseless and Is Itself Improper.
         In their second Rule 11 Motion, Defendants (again) baselessly make the

 serious accusation that this action was brought for an “improper purpose” and that

 the FAC “is further corroborating evidence” of sanctionable conduct because the

 “FAC does not redress the original Complaint’s inflammatory rhetoric and

 unsupported core allegations.” ECF No. 38 (“Mot.”) at 6. Even a cursory reading of

 Defendants’ papers makes clear that this accusation is wholly without merit and does

 not come anywhere close to rising to a Rule 11 violation. Rather, this second motion

 is, unfortunately, an inappropriate and irresponsible litigation tactic that experienced

 defense counsel should not have stooped to engage in.

         A.    Defendants Concede the Vast Majority of Plaintiffs’ Allegations
               Are Proper Under Rule 11.
         As with their first motion for sanctions, Defendants remarkably contend that

 this action was brought for an “improper purpose” even though they do not challenge

 under Rule 11 the vast majority of Plaintiffs’ allegations, including that:

       Defendants and their broker partners falsely represented that “[b]rokers are
        independent,” and that the loan officers found on findamortgagebroker.com
        will “shop on your behalf.” FAC ¶¶ 40, 45, 49–53, 155.

       Such statements were false and UWM intended to induce loan officers to
        funnel consumers “to UWM without shopping for loans that are in those
        borrower-clients’ best financial interests.” E.g., id. ¶¶ 119, 129 130, 132, 134.



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     The purpose and effect of this unscrupulous conduct was to cause Plaintiffs to
      pay for brokers who were not providing the core functions they advertised and
      were hired to perform, including to exercise independent judgment, shop on
      borrowers’ behalf, disclose material facts, and not maintain secret loyalty to a
      single lender. E.g., id. ¶¶ 152, 155, 159–62, 211, 217, 224, 250–53, 277.

     Plaintiffs were harmed in multiple ways, including because they paid for but
      did not receive the benefit of their broker’s “independent” and loyal service,
      while Defendants and the participating brokers richly profited from their
      deceptive and misleading conduct. E.g., id. ¶¶ 147, 150, 152–55, 164.

       In the face of their concession that these allegations “have evidentiary support

 or . . . will likely have evidentiary support” under Rule 11, Defendants cannot

 seriously contend that the FAC is somehow sanctionable based on (unfounded)

 speculation about Plaintiffs’ motive for asserting well-pled, evidence-based claims.

       B.     Defendants’ “Improper Purpose” Argument Is Meritless.
       Each basis offered by Defendants for their claim that the FAC is sanctionable

 is wrong.    Indeed, the only actual “improper purpose” here is Defendants

 inappropriate tactical use of Rule 11—twice—to engage in a pre-discovery effort to

 raise what are, at best, potential factual disputes that would not even be proper for

 resolution at the summary judgment stage.

              1.    Plaintiffs’ Citation of HMDA Data That Defendants’
                    Themselves Rely on Is Proper.

       Defendants make the perplexing argument that the FAC’s citation of a

 statistical analysis of HMDA data—which the CFPB describes as “the most

 comprehensive source of publicly available information on the U.S. mortgage


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 market”2—is sanctionable. That argument—which is hard to view as being in good

 faith—is all the more remarkable because Defendants themselves rely on the very

 same data in their motion to dismiss Plaintiffs’ claims. In particular, Defendants

 touted that same HMDA data as a reliable source for a mortgage loan comparison

 shopper, arguing that Plaintiffs were not “reasonably diligent” in comparing the

 price and terms of their UWM loans with market prices because they failed to avail

 themselves of the same HMDA data. ECF No. 30 at 27. Defendants cannot contend

 in good faith that the HMDA data simultaneously is so “unreliable” that Plaintiffs

 should be sanctioned for citing it in a pleading, while at the same time claiming that

 a “reasonably diligent” plaintiff would have relied on the same HMDA data to

 compare prices across loans. Moreover, Defendants’ contention that the data is

 unreliable is not a basis for Rule 11 sanctions at the pleadings stage under the well-

 established precedent. See Section III, infra.

       Further, even if it were appropriate for the Court to evaluate the evidentiary

 value of HMDA data at this stage (it is not), the HMDA data is a reliable repository

 for Plaintiffs to cite in supporting their allegations that thousands of loan officers

 who held themselves out as “independent” were, in fact, funneling loans to UWM at

 rates often at or above 99%. See Section III, infra. Thus, whatever Defendants’



 2
     Consumer Financial Protection Bureau, Mortgage                  data   (HMDA),
 https://www.consumerfinance.gov/data-research/hmda.
                                           6
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 opinion is about the HMDA data (which is unclear in view of Defendants’ own

 reliance on it), it is clear that references to HMDA data in the FAC are neither

 sanctionable nor evidence of some unidentified “improper purpose.” And any

 factual dispute the parties have about that data is unripe for resolution at this stage.3

              2.     Plaintiffs’ Quotations of Defendant Ishbia’s Own Public
                     Statements Are Proper.

       Defendants’ displeasure with the FAC’s quotation of Defendant Ishbia’s own

 public statements is not grounds for sanctions nor evidence of any improper purpose.

 Defendants do not dispute that Mr. Ishbia made these statements. Nor do they claim

 that any of his statements were misquoted.           Rather, Defendants claim those

 allegations “have no substantive relevance” and are “clearly designed to attract

 negative media attention,” and that thus justifies sanctions. Mot. at 6. That is plainly

 wrong. Defendant Ishbia’s statements are quoted in the FAC because his words and

 actions are evidence of Defendants’ illegal scheme and are relevant to Defendants’

 intent in pursuing that scheme, which is an element of some of the causes of action.

       In fact, the allegations that Defendants claim are “incendiary” are not only

 rooted in Defendant Ishbia’s and UWM’s own statements, but also the uncontested


 3
  Teno v. Iwanski, 464 F. Supp. 3d 924, 953-954 (E.D. Tenn. 2020) provides no
 support for the imposition of sanctions here and underscores the circular nature of
 Defendants’ argument. The Teno court imposed sanctions for “improper purpose,”
 but only after a full factual record had been developed in discovery, judgment
 entered in favor of defendants, and the court could use that record to determine that
 plaintiffs’ claims were meritless. Teno, 464 F. Supp. 3d at 953-54.

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 fact that thousands of purportedly “independent” loan officers were funneling up to

 100% of their loan volume to UWM. This demonstrates how deeply inappropriate

 Defendants’ Rule 11 motion is. Defendants are accusing Plaintiffs and their counsel

 of acting unethically and in violation Rule 11 despite not disputing the accuracy of

 these core factual allegations, which are obviously relevant and well-plead.

 Defendants cannot remotely establish these allegations should be stricken, let alone

 that they are so divorced from reasonable inquiry that sanctions are appropriate.

 Pines of Clarkston, 2014 WL 6612375, at *1 (“sanctions are not warranted unless

 the pursuit of the lawsuit was wholly lacking in arguable legal merit or where the

 factual allegations were completely unwarranted by the evidence”).

               3.     Plaintiffs’ Characterization of Brokers Who Represent
                      They Are “Independent” But in Fact Funnel Loans to
                      UWM as “Corrupt” Is Proper.

       Defendants’ renewed objection to the FAC’s characterization of certain loan

 officers as “corrupted” also is no basis for sanctions under Rule 11. Defendants

 correctly admit that these “allegations strike at the heart of UWM’s business model

 and broker network” (Mot. at 6), and they also do not even challenge under Rule 11

 the factual allegations underlying this characterization: that is, Plaintiffs paid for, but

 did not receive, the benefit of their brokers’ promised “independent” and loyal

 services, while Defendants and the participating brokers richly profited from their

 deceptive and misleading conduct. FAC ¶¶ 96, 167, 193, 197, 230–35, 258–62, 278–


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 80, 282–87, 302, 312, 314, 317. While Defendants may bristle at Plaintiffs’ use of

 the term “corrupted,” they fail to refute the core allegations of their unscrupulous—

 and, yes, corrupt—conduct.

              4.    Plaintiffs’ Allegations Regarding the Contractual Terms
                    UWM Openly Requires Brokers to Agree to Are Proper.

       Defendants take issue with what they call “improper and misleading

 allegations” that the All-In provision “meaningfully restricted [Plaintiffs’ brokers’]

 ability to shop for mortgage loans.” Mot. at 7. But the “All-In” provision—which

 the FAC quotes in full (see ¶ 77)—plainly does “meaningfully restrict” brokers’

 ability to shop. As the FAC accurately states, it “contractually prohibits any broker

 who does business with UWM from shopping for loans from . . . Rocket Mortgage,”

 UWM’s chief competitor. FAC ¶ 75.

       Defendants do not attempt to identify even a single misstatement about the

 provision. Instead, they complain the FAC “magnified” allegations as to the

 provision’s impropriety (whatever that means), despite the fact that it “leaves

 available more than seventy wholesale-dedicated lenders and hundreds of additional

 lenders.” Mot. at 7. But the mere existence of other lenders in the market does not

 disprove any of Plaintiffs’ factual allegations about the provision. And as the FAC

 accurately alleges, the “All-In” provision works in tandem with UWM’s “Lock-In”

 provision, which restricts brokers from shopping for loans from all other lenders,

 not just one or two competitors—a policy unique to UWM. FAC ¶¶ 85–89. At

                                           9
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 bottom, nothing in Defendants’ motion demonstrates that any specific allegation

 about the “All-In” provision is false, much less so devoid of merit as to warrant

 Rule 11 sanctions at the pleading stage. Tahfs, 316 F.3d at 594.

              5.     Plaintiffs’ Claims Have a Legal Basis.

       Defendants’ claim that the FAC contains sanctionable “legal errors” is wrong.

       First, Defendants’ continued reliance on Truth in Lending Act (“TILA”)

 regulations to attack Plaintiffs’ claims is meritless. Defendants do not assert that

 claimed compliance with 12 C.F.R. 1026.36(e) somehow immunizes their

 misconduct.4 Nor could they. See, e.g., Lee v. Countrywide Home Loans, Inc., 692

 F.3d 442, 452 (6th Cir. 2012) (denying defendant broker summary judgment on state

 civil conspiracy claim for deficient disclosures while granting motion on TILA

 disclosure claim). In any event, Plaintiffs do not base their claims on TILA

 regulations and thus Defendants’ citation of TILA regulations is a red-herring.

       Second, Defendants’ vague assertion that “some states do not even recognize

 Plaintiffs’ cause of action at all” is deficient on its face. Mot. at 7. Defendants do

 not even identify what cause of action they are referring to much less state a



 4
   In fact, Defendants are the ones ignoring the substance of the TILA anti-steering
 disclosures. The disclosures are silent as to which lender is offering the presented
 loan options. See, e.g., ECF No. 23-46. And they do nothing to show whether the
 disclosing broker satisfied their obligation to “obtain loan options from a significant
 number of the creditors with which the [broker] regularly does business[.]” 12 C.F.R.
 1026.36(e)(3)(i).

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 cognizable basis for sanctions. Plaintiffs have addressed the legal sufficiency of

 their claims at length in their oppositions to Defendants’ motion to dismiss (ECF

 No. 35), motion to strike (ECF No. 36), and first motion for sanctions (ECF No. 28),

 and thus will not rehash them here. But even if there were merit in any of

 Defendants’ arguments on the law, that still would not justify sanctions. See James,

 824 F. App’x at 378 (“A complaint's failure to satisfy Rule 12(b)(6) is not alone

 enough to impose sanctions.”); Agarwal v. Morbarck, LLC, 585 F. Supp. 3d 1026,

 1030 (E.D. Mich. 2021) (“If attorneys were sanctioned for pursuing reasonable

 arguments … attorneys would be practically useless” and “[t]he only legal claims

 that could be properly brought would be those involving no question at all”).

 II.   Defendants Fail to Show That Any Individual Plaintiff’s Factual
       Allegations Are “Completely Unwarranted by the Evidence.”
       In a renewed and improper attempt to prematurely litigate the merits,

 Defendants take aim at a total of four paragraphs in Plaintiffs’ 583-paragraph FAC,

 arguing that they purportedly violate Rule 11 because they are “baseless” and

 Plaintiffs “did not perform a ‘reasonable inquiry’” before asserting them. Mot. at 8–

 14. There is simply no merit in any of Defendants’ claims.

       FAC ¶ 275. First, Defendants claim that Plaintiff Morandi “falsely alleges”

 that the loan officer who originated his UWM Mortgage, Garrett Todd, “signed

 UWM’s Wholesale Broker Agreement.” Mot. at 9 (citing FAC ¶ 275). Relying on

 a written Declaration from Todd, Defendants contend that Todd “did not” sign the

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 Agreement, and that Plaintiffs’ “egregious” misstatement “highlights how Plaintiffs

 continue to frivolously lump together loan officers and brokers . . . in an effort to

 disparage them all.” Id. (citing ECF No. 38-19 ¶ 10). Defendants’ overheated

 contentions fail to demonstrate a Rule 11 violation and are entirely irrelevant to

 Plaintiff Morandi’s claims.

         To start, even if Todd truly did not sign the Agreement, as he claims in his

 Declaration, Plaintiffs had a reasonable basis to allege that he did. UWM has

 repeatedly stated that accepting and abiding by the terms of the Agreement, and

 specifically the shopping restrictions therein, is a non-negotiable precondition for

 originating mortgage loans with UWM. See, e.g., Hubbard Decl.,5 Ex. 2 at 5 (“You

 have until March 15th to sign the addendum. And if you don’t sign the addendum .

 . . you and nobody at your company will work with UWM anymore.”).6 There is no

 dispute that Todd is a loan officer who has originated, and continues to originate,

 millions of dollars of mortgage loans with UWM. Ex. 3. And because the identity

 of the Agreement’s signatories is non-public and entirely within UWM’s and the

 signatories’ control, no “reasonable inquiry” on Plaintiffs’ part could have



 5
     Exhibits to the Declaration of Brandon C. Hubbard are referenced herein as “Ex.”
 6
   See also United Wholesale Mortg., LLC v. Am.’s Moneyline, Inc., 647 F. Supp. 3d
 587, 593 (E.D. Mich. 2022) (citing UWM’s issuance of “conditional approval
 letters” requiring a broker to “execute the [amended Wholesale Broker Agreement]
 before UWM would close any further loans originated by” that broker).

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 uncovered contrary information pre-filing.      See Joseph, supra, § 8(A)(4) (“if

 pertinent facts are lodged in the possession of opponents or uncooperative third

 parties, or are otherwise not readily available, to the presenter, the courts will

 recognize that as a practical limitation on what a reasonable inquiry may include”).

 Defendants thus fail to show that Plaintiff Morandi’s allegation was “completely

 unwarranted by the evidence,” as required to establish a Rule 11 violation. See PPS

 Data, LLC v. Athenahealth, Inc., 2012 WL 601208, at *2 (M.D. Fla. Feb. 23, 2012)

 (denying Rule 11 motion where Defendant’s affidavit “does not . . . cast doubt on

 the reasonableness of Plaintiff’s reliance on Defendant’s public statements”).

       Moreover—and critically—neither Defendants nor Todd dispute that Todd

 was legally bound under the Agreement. Rather, they only dispute whether Todd

 personally “signed” the Agreement (as opposed to whether his brokerage firm,

 Katzman Enterprises,7 signed it instead). But that detail is wholly irrelevant. As an

 agent of his firm, Todd was bound under the Agreement when acting within the

 scope of his agency. See Sanchez v. City of Fresno, 914 F. Supp. 2d 1079, 1120

 (E.D. Cal. 2012) (“non-signatories may be bound by the terms of an agreement if




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   In Todd’s Declaration, he states that he is “a licensed loan officer working with
 National Trust Lending in Van Nuys, California.” ECF No. 38-19 ¶ 1. According
 to the NMLS database, National Trust Lending is a trade name associated with
 Katzman Enterprises, a licensed mortgage loan originator in California. Ex. 4.

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 they are agents of a signatory”). Thus, regardless of whether he signed it, Todd was

 obligated to abide by the Agreement’s terms when originating Morandi’s loan.

       Further, even if Defendants could establish that Todd was not bound under

 the Agreement—and again, they do not even contend as much—that would have no

 bearing on the merits of Plaintiff Morandi’s claims. For example, even if Todd was

 never obligated to comply with UWM’s “All-In” policy, his conduct demonstrates

 that he nonetheless has chosen to comply. Between 2021 and 2023, Todd originated

 326 mortgage loans (comprising over $199.74 million of loan volume)—301 of

 which (or over 92%) went to UWM. Ex. 3. None went to Rocket or Fairway. Id.

 Todd does not dispute any of this in his Declaration. ECF No. 38-19. Plaintiffs are

 alleging that UWM has corrupted brokers’ and loan officers’ independence,

 converted them into UWM loyalists, and concealed that fact from UWM borrowers.

 FAC ¶¶ 72–129, 156–69. If Todd is steering over 92% of his loans to UWM and

 failing to shop independently despite not being bound under any contract with

 UWM, that would only underscore the power of UWM’s non-contractual incentives

 as outlined in the Complaint. See id. None of Plaintiff Morandi’s claims turns solely

 on the nature or existence of a contractual relationship between Todd and UWM—

 so the non-existence of such a relationship would not defeat any of his claims.

       FAC ¶¶ 230, 282. Next, Defendants attack the veracity of allegations that

 Plaintiffs Morandi and Schelble “did not realize, at any point prior to closing, that


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 [they] would be paying [thousands of dollars for] ‘discount points’ as a condition of

 securing [their] interest rate[s],” and that no one “ever discussed ‘points’ with

 [them].”    Mot. at 10, 12.      Defendants claim those allegations are “directly

 contradicted” by closing disclosure forms, id. at 12 (emphasis in original), which

 they claim were presented to Plaintiffs Morandi and Schelble well in advance of

 their closings. Id. at 10–13. Defendants are wrong.

       Plaintiffs Morandi and Schelble do not allege that they were never made aware

 of the “discount point” line items in their closing disclosures. Rather, they allege

 that their loan officers never “explained that [their] interest rate[s] [were]

 conditioned on [their] purchase of ‘points’” or, “[a]s importantly . . . that in achieving

 a lower interest rate by paying for ‘points,’ [they] would end up with a loan that was

 significantly more expensive overall than substantially similar alternatives available

 in the market.” FAC ¶¶ 230, 282. In other words, Plaintiffs allege they were

 unaware not of the existence of discount points, but the connection between the

 discount points and the rates they were promised. Id. And they never understood

 that by agreeing to pay thousands of dollars in “discount points,” they were agreeing

 to obtain a loan that was more costly than loans available from other lenders. Id.

       Nothing in Defendants’ motion demonstrates that Plaintiffs’ allegations are

 untrue, much less sanctionable. The closing disclosures on which Defendants rely

 do not purport to explain the connection between discount points and interest rates,


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 and they say nothing about how the points and rates offered on the loan compare to

 other loans available in the market. See Mot. at 10–13. And while Defendants cite

 Todd’s Declaration to dispute Plaintiff Morandi’s allegation that Todd never

 explained that the rate he was offered was conditioned on paying points, id. at 10

 (citing ECF No. 38-19 ¶ 7), untested, self-serving factual assertions in a written

 declaration are insufficient to establish facts in the context of a pre-discovery Rule

 11 motion. See, e.g., Rose v. Wash., 2021 WL 3177307, at *2 (W.D. Mich. June 28,

 2021), aff’d, 2023 WL 9316268 (6th Cir. Nov. 1, 2023) (denying Rule 11 motion

 where movant “failed to provide any evidence” to demonstrate falsity of non-

 movant’s assertions “apart from his own self-serving statements”).

       FAC ¶ 202.        Finally, Defendants assert that a “new liability theory”

 concerning the non-disclosure of a loan level price increase applied to the Escue

 Plaintiffs’ mortgage loan is “demonstrably false” and thus sanctionable. Mot. at 13–

 14. Specifically, Defendants claim that the Escue Plaintiffs’ loan would have been

 classified as a “cash-out refinance” loan and subject to additional price increases

 regardless of whether the Escues received $2,000 cash back at closing because the

 loan was part of a transaction that allowed them to pay off thousands of dollars of

 additional debt. Id. at 14. This claim fails as well.

       Plaintiffs assert no “new liability theory” concerning the loan level price

 increase applied to the Escue Plaintiffs’ loan. Rather, the theories of liability in the


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 FAC remain the same as those alleged in the original complaint. The Escue

 Plaintiffs, like the other Plaintiffs, believed they had obtained the services of an

 “independent” loan officer who would shop on their behalf and present them with

 the most favorable loan options he could find. FAC ¶¶ 182, 191. They were never

 made aware that the loan officer they hired was not in fact independent, but rather a

 UWM-loyalist who steers the vast majority of his loans to UWM in exchange for

 valuable benefits. Id. ¶¶ 193, 203–04. As a result, the Escues ended up with a loan

 that was substantially more expensive than available alternatives. Id. ¶¶ 197–201.

 As Plaintiffs explain, both in the FAC (id. ¶ 201) and in response to Defendants’

 first Rule 11 motion (ECF No. 28 at 16–17), the excess expense of the Escues’ loan

 is evident in the fact that their 3.499% interest rate for their 18-year loan was

 substantially closer to the 30-year benchmark (3.55%) than the 15-year benchmark

 (2.77%). FAC ¶ 201 (citing Mortgage Rates, Primary Mortgage Market Survey,

 Freddie Mac, https://www.freddiemac.com/pmms). Thus, even if Defendants

 ultimately can prove that the Escues’ loan would have been subject to a price

 increase regardless of how much cash they received at closing, the Escues’ claims

 remain meritorious: they were deceived into hiring a UWM-loyalist broker, deprived

 of honest services, and ended up paying above-market mortgage costs as a result.




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 III.   Defendants Do Not Come Anywhere Close to Showing That the
        Statistical Analysis Referenced in the FAC Is “Facially Unreliable.”
        Defendants’ claim that Plaintiffs should be sanctioned based on the purported

 unreliability of the statistical analysis referenced in the FAC’s is utterly meritless.

 If Defendants’ arguments and Plaintiffs’ responses on this issue look familiar, that

 is because, in large part, the Court has seen them already. Defendants made many

 of the same baseless arguments in their first sanctions motion and continue to forge

 ahead with them here. They fare no better this second time around.

        First, Defendants fundamentally misrepresent the role that the statistical

 analysis plays in this case. Defendants claim “[t]he FAC’s central theory of harm

 relies on a statistical analysis” that shows each Plaintiffs’ UWM loan “was not the

 most affordable options on the market when compared to other loans.” Mot. at

 15. That is incorrect. Plaintiffs were harmed not solely because UWM’s fraudulent

 scheme caused them to obtain loans that were more expensive than available

 alternatives, as the statistical analysis shows, but also because they were deceived

 into paying for “independent” mortgage brokerage services that they never received.

 FAC ¶¶ 38, 147, 173, 355–56, 361, 364–65. Thus, even if there was merit in each

 of Defendants’ critiques of the statistical analyses cited in the FAC (and, as discussed

 below, there is not), Plaintiffs’ claims would still be cognizable. Defendants’

 premature attempt to litigate the reliability of the statistical analysis is therefore not

 only procedurally improper but a pointless diversion. Plaintiffs made this point in

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 response to Defendants’ last improper Rule 11 motion. ECF No. 28 at 11–12.

 Defendants’ instant motion offers no response.

       Second, Defendants ignore the applicable legal standard. This is a pleading-

 stage motion for sanctions under Rule 11. It is not a motion for summary judgment

 nor a Daubert motion. To obtain the relief they seek under Rule 11, Defendants

 must prove that Plaintiffs’ “factual contentions lack any evidentiary support” and

 that “the filing and continuation of this lawsuit was so lacking in merit that its pursuit

 could be said to be objectively unreasonable.” Pines of Clarkston, 2014 WL

 6612375, at *2. Courts routinely hold that “news articles” and “public documents”

 can be sufficient “evidentiary support” for a plaintiff’s factual allegations in a

 complaint under Rule 11. See, e.g., Kovach v. Access Midstream Partners, L.P.,

 2016 WL 1162061, at *7 (N.D. Ohio Mar. 23, 2016) (“plaintiffs can rely on news

 articles from trusted sources to satisfy . . . Rule 11 pre-filing investigation

 requirements”); Kamerman v. Steinberg, 113 F.R.D. 511, 514–15 (S.D.N.Y. 1986)

 (plaintiffs “reliance on news articles” and “public documents, such as SEC filings”

 was “sufficient to meet the requirements of Rule 11”).

       Attorneys, moreover, are “rarely sanctioned” when their pleadings rely on an

 expert’s analysis because “consulting an expert is itself a way to investigate a claim’s

 factual plausibility.” King v. Whitmer, 71 F.4th 511, 524 (6th Cir. 2023); see also

 Zangara v. Travelers Indem. Co. of Am., 2006 WL 8553018, at *2 (N.D. Ohio July


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 20, 2006) (denying Rule 11 motion where “pre-filing investigation efforts” involved

 “difficult and complex” analysis of data with “the help of an expert consultant”);

 Carlton Grp., Ltd. v. Tobin, 2003 WL 21782650, at *5 (S.D.N.Y. July 31, 2003)

 (same). Indeed, as the Sixth Circuit recently held, a plaintiff’s reliance on an expert

 at the pleading stage is sanctionable only if the expert’s opinion is “unreliable on its

 face—either because of the expert’s lack of qualifications, or the substance of the

 opinion itself.” King, 71 F. 4th at 522–23.8

       Because Defendants cannot prove that the FAC’s allegations concerning the

 expensiveness of Plaintiffs’ loans “lack any evidentiary support,” they instead

 nitpick certain aspects of the statistical analysis referenced in parts of the FAC. But

 lodging what is functionally a Daubert challenge before the parties have even

 retained testifying experts, much less completed expert discovery, is irrelevant to a



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   King is instructive because it describes both examples of expert analyses that were
 “facially unreliable” (and thus sanctionable) and other expert analyses that were “not
 unreasonable” (and thus not sanctionable). 71 F.4th at 522–24. The Court held, for
 instance, that plaintiffs’ reliance on an expert “opinion” that “came in the form of
 four tweets, each 280 characters or less, which said nothing about [the expert’s]
 qualifications or the data he supposedly employed” was sanctionable because the
 opinion was “unreliable on its face.” Id. at 523. By contrast, the Court found that
 plaintiffs’ reliance on expert reports that merely reached “anomalous” conclusions
 based on assumptions that were “implausible” or “without support” was “not
 sanctionable” because the reports were “not facially unreasonable.” Id. The analysis
 referenced in the FAC bears no resemblance to the flagrantly unreliable expert
 opinions in King, including because it was conducted by a team of credentialed
 forensic accountants and data scientists using a sophisticated methodology and a
 robust data set. Gibbons Decl. ¶ 5.

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 Rule 11 analysis and plainly premature. See Julian v. Lee, 2020 WL 4913481, at *3

 (E.D. Mich. July 29, 2020) (Grand, M.J.) (“Clearly, Defendants will be in a much

 better position to present their Daubert arguments . . . and the Court will be in a

 better position to evaluate them, after Defendants obtain [the expert’s] complete file

 and depose him. . . . [I]n this regard, Defendants’ instant motion is premature . . . .”).

       Third, each of the three substantive critiques Defendants level against the

 statistical analysis cited in the FAC is flatly wrong.

       Validity of Comparisons to “Similar” Loans. To assess mortgage loans’

 expensiveness relative to other loans available in the wholesale market, the statistical

 analysis cited in the FAC “sorted millions of loans from the top 25 wholesale lenders

 each year into thousands of much smaller buckets containing similar mortgages.”

 Gibbons Decl. ¶ 4; Ex. 1. Each smaller comparison “bucket” contains only loans

 that share, among other characteristics, the same interest rate (rounded to the nearest

 0.005%), month of closing, loan term (e.g., 30-year or 15-year), dwelling category

 (e.g., single-family or multi-family), rate type (e.g., fixed-rate or adjustable-rate),

 and loan-to-value (“LTV”) and debt-to-income (“DTI”) ranges. Id. ¶ 6. Defendants

 contend that the analysis is “facially unreasonable” because it “omits key variables,”

 namely FICO scores, and the existence of loan level price adjustments (“LLPAs”).

 That contention is incorrect.




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       As Plaintiffs explained in response to the last Rule 11 motion, which also

 complained that the statistical analysis does not capture FICO scores (see ECF No.

 28 at 13–14), the absence of FICO scores in the data does not render individual loan-

 to-loan comparisons invalid, much less destroy the evidentiary value of the entire

 analysis—as Defendants would need to demonstrate under the Rule 11 standard.

 Because the data set only includes loans purchased by government-sponsored

 enterprises (e.g., Fannie Mae and Freddie Mac), which have strict FICO score

 requirements, all the loans in the data set are within certain FICO ranges, eliminating

 outliers. Gibbons Decl. ¶ 8. Moreover, as previously explained, at an aggregate

 level, UWM’s own SEC filings disclose that it does not originate loans from a

 disproportionate number of borrowers with lower FICO scores relative to other

 wholesale lenders. ECF No. 28 at 13.

       Defendants’ claim that the analysis fails to account for LLPAs is also wrong.

 By sorting loans into comparison “buckets” using, among other things, LTV ratios,

 the analysis ensures that individual loans are only compared against other loans with

 the same LTV ratio and materially similar LLPAs. Gibbons Decl. ¶ 7. The fact that

 Defendants’ expert states a different view does not render the entire statistical

 analysis “facially unreliable.”

       Validity of Comparisons to Loans in the Same Month of Closing. The

 statistical analysis compares the cost of individual loans to that of other loans closed


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 in the same month. Id. ¶ 6. Defendants claim that grouping loans by month is

 “gamesmanship” because “[i]nterest rates can fluctuate dramatically over multiple

 weeks” and thus comparisons of loans that may have closed a month apart from one

 another is “meaningless.” Mot. at 17. Again, Defendants are wrong.

       As an initial matter, a substantial portion of the overcharges measured in the

 statistical analysis arises from broker compensation. Gibbons Decl. ¶ 10. Broker

 compensation is set as a flat fee or a percentage of the loan amount. Id. It does not

 fluctuate based on interest rate and thus is unaffected by rate volatility. Id.

       Additionally, the suggestion that rate volatility destroys the evidentiary value

 of the analysis is unsupported and overblown. The Statistical Analysis generates

 substantially similar conclusions as to the expensiveness of the loans at issue when

 mechanisms to account for interest rate volatility are applied. Id. ¶ 11. Defendants

 rely on atypical data sets that do not accurately reflect interest rate volatility

 throughout the class period. Over the class period, the average monthly interest rate

 volatility (as measured from the highest point in a month to the lowest point in a

 month) was 0.30%, which is materially less than the volatility seen in the cherry-

 picked periods Defendants focus on (0.56% volatility in May to June 2022 and

 0.64% volatility from September to October 2023). Id.

       Further, the alternative approach Defendants’ expert suggests—only

 comparing loans to other loans closed on the same day—brings its own set of


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 drawbacks. Id. Artificially limiting the analysis to same day comparisons would

 obscure broader patterns of cost disparity and reduce the volume and quality of the

 comparative data set, resulting in lower quality loan comparisons. Id. Defendants’

 expert apparently holds a different opinion—and the parties will have ample

 opportunity to litigate those differences after discovery. But the mere assertion of

 an opposing view is not proof of “facially unreliability” as required under Rule 11.

       Relative Validity of APR Spread Comparisons. Finally, Defendants rehash

 the same meritless argument they made in their last Rule 11 motion—that comparing

 individual loans’ APR spreads is a better method of evaluating their expensiveness.

 Mot. at 18–19. As Plaintiffs have already explained (ECF No. 28 at 18–20), using

 APR spreads to compare the expensiveness of individual loans is highly flawed

 because (i) APR spreads measure expected loan costs across a mortgage loan’s full

 term, whereas the average mortgage loans is refinanced or paid off well in advance;

 and (ii) there are material variations in lenders’ APR spreads because different

 lenders use different inputs and calculation methods to determine APR, and the

 regulations allow for a 0.125% margin of error to reflect disparities. Gibbons Decl.

 ¶ 12. Moreover, the sole question here is whether the statistical analysis cited in the

 FAC was so “facially unreliable” that Plaintiffs should be sanctioned for citing it.

 Even if Defendants’ preferred APR spread analysis were as reliable as Defendants’




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 expert claims it is, that would have no bearing on the propriety, under Rule 11, of

 Plaintiffs’ references to the separate statistical analysis cited in the FAC.

                                    CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that the Court deny

 Defendants’ request for relief in its entirety. And because Defendants fail to come

 anywhere close to meeting their burden under Rule 11, which requires them to show

 that Plaintiffs’ claims are “wholly lacking in arguable legal merit” and “completely

 unwarranted by the evidence,” Pines of Clarkston, 2014 WL 6612375, at *1,

 Plaintiffs respectfully submit there is ample justification for the Court to award costs

 to Plaintiffs for having been forced to take part in this unnecessary and wasteful

 exercise. Fed. R. Civ. P. 11(c)(2) (“the court may award to the prevailing party the

 reasonable expenses, including attorney’s fees, incurred for the motion”).


 Dated: January 24, 2025
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                          CERTIFICATE OF SERVICE
       I hereby certify that on January 24, 2025, I caused the foregoing document

 to be filed with the Clerk of the Court using CM/ECF, which will effectuate

 service upon all counsel of record.

                                              /s/ Brandon C. Hubbard

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